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Case: 1:16-cv-08067 Document #: 7 Filed: 09/09/16 Page 1 of 8 PagelD #:18 v

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UNITED erates DISTRICT COURT R E C F I V FE D

FOR THE NORTHERN DISTRICT OF ILLINOIS
SEP - 9 2016

THOMAS G SRUTON

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SNS y AA CO A | ( CLERK Us DISTRICT COURT

 

The Le 16CV8067
apis JUDGE LEEKOW can

DGE FINNE
Plaintiff(s), c, MAG. JU

Vv. + | \ 7% As .
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|

Defendant(s).

COMPLAINT OF EMPLOYMENT DISCRIMINATION
1. This is an action for employment discrimination.

2. The plaintiffis G CGitize i of the
county of Coe fe in the state of | | WIots

3. The defendant is Cl YWQa\c ax \ Cora TIN DO whase
. \

———S

street address is 3 233 \— C lhe rend hain

(city) C ly ¢ ZA ) (county) Ay Ok (state) jo ( Was iS (ZIP) Lo Ola LE

(Defendant’s telephone number) (Si2y)- Ta T- O1.a4

 

4. The plaintiff sought employment or was employed by the defendant at (street address)

2233 © Chelbe nha mo (ity) ChACAGS
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(county) C0 [z. (state) ("| (oosZIP code) GO io 45}

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The plaintiff [check one box]

(a) OO was denied employment by the defendant.

(b) 56 was hired and is still employed by the defendant.

(c) OO was employed but is no longer employed by the defendant.

The defendant discriminated against the plaintiff on or about, or beginning on or about,

(month) VC\x { _, (day) 2 _, (year) ZO\Ss.
(Choose paragraph 7.1 or 7.2, do not complete both.)

(a) The defendant is not a federal governmental agency, and the plaintiff
[check one box] has Chas not filed a charge or charges against the defendant

asserting the acts of discrimination indicated in this complaint with any of the
following government agencies:
(i) Rithe United States Equal Employment Opportunity Commission, on or about
(exantt) Ava Ost (day) 3 (year) 20 |S".
(11) A the Illinois Department of Human Rights, on or about
(month) Aur 8650 (day) >| (year) ZC | =
(b) Ifcharges were filed with an agency indicated above, a copy of the charge is

/
attached. BX Yes, O No, but plaintiff will file a copy of the charge within 14 days.

It is the policy of both the Equal Employment Opportunity Commission and the Illinois
Department of Human Rights to cross-file with the other agency all charges received. The

plaintiff has no reason to believe that this policy was not followed in this case.

The defendant is a federal governmental agency, and

(a) the plaintiff previously filed a Complaint of Employment Discrimination with the

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]

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[If you need additional space for ANY section, please attach an additional sheet and reference that section.]

defendant asserting the acts of discrimination indicated in this court complaint.
CO) Yes (month) (day) __—_—_—s(year)
C1 No, did not file Complaint of Employment Discrimination

| (b) The plaintiff received a Final Agency Decision on (month)

(day) (year)

(c) Attached is a copy of the
(i) Complaint of Employment Discrimination,

C1 Yes UO No, but a copy will be filed within 14 days.

(ii) Final Agency Decision

O Yes OQ NO, but a copy will be filed within 14 days.

8. (Complete paragraph 8 only if defendant is not a federal governmental agency.)
(a) O the United States Equal Employment Opportunity Commission has not
issued a Notice of Right to Sue.
(b) en the United States Equal Employment Opportunity Commission has issued
a Notice of Right to Sue, which was received by the plaintiff on
(month) JNO Uy (day) Z2 (year) Z7e>( ba copy of which

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Notice is attached to this complaint.

2. The defendant discriminated against the plaintiff because of the plaintiff's [check only
those that apply|:
(a) OF Age (Age Discrimination Employment Act).

(b) OF Color (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).

(If you need additional space for ANY section, please attach an additional sheet and reference that section.]

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[If you need additional space for ANY section, please attach an additional sheet and reference that section.]

(c) O Disability (Americans with Disabilities Act or Rehabilitation Act)

(d) O National Origin (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).
(ec) O Race (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. $1981).

(f) O Religion (Title VII of the Civil Rights Act of 1964)

(g) ye Sex (Title VII of the Civil Rights Act of 1964)

10. If the defendant is a state, county, municipal (city, town or village) or other local
governmental agency, plaintiff further alleges discrimination on the basis of race, color, or

national origin (42 U.S.C. § 1983).

11. Jurisdiction over the statutory violation alleged is conferred as follows: for Title VII claims
by 28 U.S.C.§1331, 28 U.S.C.§1343(a)(3), and 42 U.S.C.§2000e-5(f)(3); for 42
U.S.C.§1981 and §1983 by 42 U.S.C.§1988; for the A.D.E.A. by 42 U.S.C.§12117; for the
Rehabilitation Act, 29 U.S.C. § 791.

12. The defendant [check only those that apply]

(a) O failed to hire the plaintiff.

(b) O terminated the plaintiffs employment.

(c) 0 failed to promote the plaintiff.

(d) O failed to reasonably accommodate the plaintiff's religion.
(e) O failed to reasonably accommodate the plaintiff's disabilities.
(f) rh failed to stop harassment;

(g) a retaliated against the plaintiff because the plaintiff did something to assert rights
protected by the laws identified in paragraphs 9 and 10 above;

(h) O other (specify):

 

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css" MG .eSe ke cA tk me as ‘Your Kor on ee mye ASS.
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beh Abs

13. The facts supporting the plaintiffs claim of discrimination are as f
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& Seecavyel Bn, 2 ict OE abot A V2 ea W123 [\S

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bass.

14. [AGE DISCRIMINATION ONLY] Defendant knowingly, intentionally, and willfully
discriminated against the plaintiff.

15. The plaintiff demands that the case be tried by a jury. Yes O No

16. THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff
[check only those that apply|

(a) O Direct the defendant to hire the plaintiff.

(b) QO) Direct the defendant to re-employ the plaintiff.

(d) QO Direct the defendant to reasonably accommodate the plaintiffs religion.

(e) QO Direct the defendant to reasonably accommodate the plaintiff's disabilities,

(f) dire the defendant to (specify): separate WE Cro TY)
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sieps +> pieJent cin Gnd _«\ xe wal lmcrassmer

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(c) O Direct the defendant to promote the plaintiff.
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(g) Si available, grant the plaintiff appropriate injunctive relief, lost wages,
iquidated/double damages, front pay, compensatory damages, punitive
damages, prejudgment interest, post-judgment interest, and costs, including
reasonable attorney fees and expert witness fees.

Vy
(h) EX Grant such other relief as the Court may find appropriate.

_
Mak MAG Whore,
(Plaintiffs signature)
Coleatso. Shosler Thy 0)

(Plaintiffs name)

2221 €. and

(Plaintiff's street address)

 

(City) ¢ M.cns YU (State) S/l py Lost?

(Plaintiff's telephone number) (@'2- AVG —-— sr0%

 

Date: Q-— \2— Roll
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. EEOC Form 5 (11/09) . 0 ne - n “hyn ws ach ale Ore Bel, FPO ans Oe . acs th eee . eee e = gil ee word . «
CHARGE OF DISCRIMINATION _. Charge Presented To: Agency(ies) Charge No(s):
This form Is affected by the Privacy Act of 1974. See enclosed Privacy Act [| FEPA
Statement and other information before completing this form. . ‘
[X] EEoc 440-2015-06167 |

 

 

Illinois Department Of Human Rights and EEOC
State or local Agency, if any : : .

 

 

Name (indicate Mr., Ms., Mrs.) ; es : : . . Home Phone (Incl. Area Code) Date of Birth

GlendaL.Thomas ‘| (342) 561-8757
, City, State and ZIP Code i

 

 

 

Street Address . ce 3 ;
2321 E. 97th Street, Chicago, !L 60617

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That | Believe
Discriminated Against Me or Others. (/f more than two, list.under PARTICULARS below.)

 

 

 

 

Name ; / . ; ; | No. Employees, Members Phone No. Tichiide Area Code)
CITY OF CHICAGO _ * oe oO 500orMore | (312) 747-0382
Street Address ‘ City, State and ZIP Code : ; .

|. Department Of Water, 3300 E. Cheltenham Place, Chicago, IL 60649 -

 

 

 

 

 

 

 

‘T Name c EOC No. Employees, Members Phone No. (Include Area Code),
at eEINED ;
Street Address. meV a. City, State and ZIP Code
et 9 A 2043 . =
RUY

_ : . aor ; : : . . . :

DISCRIMINATION BASED ON (Check appropriate eto Oyrik> DATE(S) DISCRIMINATION TOOK PLACE
, 3 QU : Earliest. : ‘ Latest

| RACE [o] coo SEX [| RELIGION | L ] NATIONAL ORIGIN ps 08-31-2015
a RETALIATION - [| AGE [| DISABILITY _ GENETIC INFORMATION
eee came / Dein ales a peagieee miele

 

 

|_| OTHER (Specify |. . LX] CONTINUING ACTION

THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):

 

| began employment with Respondent in September 16, 2013. My current position is Station Labor.
' During my employment, | was subjected to sexual harassment. | complained to Respondent.
Subsequently | have been transferred and subjected to further sexual harassment.

| believe that | have been discriminated against because of my sex, female, and in retaliation for
engaging in protected activity, in violation of Title VII of the Civil Rights Act of 1964, as amended.

 

 

| want this. charge filed with both the EEOC and the State or local Agency, if any. | NOTARY — When necessary for State and Local Agency Requirements
will advise the agencies if | change my address or phone number and | will
cooperate fully with them in the processing of my charge in accordance with their

 

 

procedures. : | swear or affirm that | have read the above charge and that it is true to
| declare under penalty of perjury that the above is true and correct. the best of my knowledge, information and belief.

SIGNATURE OF COMPLAINANT

SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
Aug 31, 2015 pity (month, day, year)
> Uw

Date Charging Party Signature

 

 

 

 
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EEOC Form 161 (11/09) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND NOTICE OF RIGHTS

 

‘To: Glenda L. Thomas From: Chicago District Office
2321 E. 97th Street 500 West Madison St
Chicago, IL 60617 / Suite 2000

Chicago, IL 60661

 

[| On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charae No. ; EEQC.-Representative- Tetenpkone No.

. ; Marcelo Ordonez,
440-2015-06167 Investigator (312) 869-8142

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:

The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.
Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

Your charge was not. timely filed: with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to file your charge Teo

A OUOUU

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

UU

Other (briefly state)

- NOTICE OF SUIT RIGHTS -

(See the ‘additional information attached to this form.) ~~.

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years):
before you file suit may not be collectible.

or On bghalf of the Cammission
4hy-—— 7/20 fe j
Enclosures(s) SF Julianne Bowman, (Date Mailed)
District Director

ce: CITY OF CHICAGO
c/o Hillina T. Tamrat, Esq.
Senior Counsel
30 N. LaSalle St., Suite 1040
Chicago, IL 60602

 
